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                                                                             Page 1
 1
 2   UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
 3    - - - - - - - - - - - - - - - -x
     STEVEN E. GREER, MD
 4   an individual,
 5                           Plaintiff,
 6              -against-
 7   Dennis Mehiel, an individual, Robert
     Serpico, an individual, The Battery Park
 8   City Authority, a New York State authority,
     Howard Milstein, an individual, Steven
 9   Rossi, an individual, Janet Martin, an
     individual, Milford Management, a New York
10   Corporation, and Mariners Cove Site B
     Associates, a New York corporation.
11
                                                    Defendants.
12
      - - - - - - - - - - - - - - - -x
13
14
                      CONFIDENTIAL
15
16
17   DEPOSITION OF ROBERT MICHAEL SERPICO
     New York, New York
18   March 21, 2017
19
20
21
22
23
     Reported by:
24   Pessi Goldstein
     JOB NO. 121382
25


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 1           ROBERT M. SERPICO - CONFIDENTIAL
 2   an individual resident, how often would you
 3   at the BPCA level be involved with that
 4   nature of leasing?
 5                 MR. TREMONTE:              Objection to form.
 6           A.    I have no recollection of ever
 7   being involved with that nature of leasing.
 8           Q.    Okay.       Have you ever asked by
 9   e-mail or any other way of Steve Rossi, who
10   works at Milford Management and for Howard
11   Milstein, have you ever asked Steve Rossi to
12   investigate the address of 200 Rector Place,
13   35F?
14                 MR. TREMONTE:              Objection to form.
15           A.    May I, I don't know what you mean
16   "investigate."
17           Q.    Did you tell Steve Rossi to look
18   into the rental status in whether the
19   payments were up-to-date or in arrears?
20                 MR. TREMONTE:              Objection to form.
21           You are permitted, by the way, to look
22           in any direction you would like.
23           A.    Yes, I'm just trying to
24   recollect.      The answer is I don't believe
25   so.    Normally as CFO, I would be of concern

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 1            ROBERT M. SERPICO - CONFIDENTIAL
 2   to condos that are not remitting monies to
 3   the Authority, but I don't believe I've ever
 4   been in any meetings or --
 5            Q.   So you never e-mailed --
 6                 MR. TREMONTE:               Hold on Mr. Greer,
 7            you've got to let him finish his
 8            answer.
 9            A.   My recollection is, you know,
10   there are thousands of e-mails.                         I don't
11   recall any.        I've known Mr. Rossi a long
12   time so I don't recall an e-mail.
13            Q.   So at no point do you recall in
14   the year 2013, or January or February of
15   2014, asking Steve Rossi to investigate
16   everything about 200 Rector Place, 35F,
17   including whether the tenant was ever late
18   for payment or any other issues?
19                 MR. TREMONTE:               Objection to form.
20            A.   No, I don't recall anything like
21   that, no.
22            Q.   You don't recall or you did not
23   do it?
24            A.   I don't recall.
25                 MR. TREMONTE:               Objection to form.

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 1            ROBERT M. SERPICO - CONFIDENTIAL
 2            Q.   Okay.
 3                 MR. TREMONTE:              Just hold on a
 4            second before you answer so I can lodge
 5            an objection, if I have one.
 6                 THE WITNESS:             Got you.
 7                 MR. TREMONTE:              Thanks.
 8            Q.   Are you aware that I rented an
 9   apartment at 200 Rector Place, 35F?
10            A.   That is a Liberty building,
11   right.
12            Q.   Yes?
13            A.   Yes, I believe so.                   I didn't know
14   the apartment number but if you say it is,
15   it is.
16            Q.   You're telling me that you don't
17   know what my apartment number -- okay.                        When
18   did you first learn that any of the
19   defendants by the name of Milford
20   Management, Steve Rossi or Mariners Cove
21   Site B or Howard Milstein would not be
22   renewing my lease for my apartment where I
23   had lived for 14 years?
24                 MR. TREMONTE:              Objection.
25            A.   I really don't know when I

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 1          ROBERT M. SERPICO - CONFIDENTIAL
 2   learned that, I couldn't pinpoint a month or
 3   week or day.       I don't recall when I first
 4   heard that, I just don't recall.
 5          Q.     Do you have, because you're
 6   saying that you don't recall some things
 7   that I find to be vital to what your job
 8   role would have been --
 9                 MR. TREMONTE:              Objection,
10          harassing, move to strike.
11          Q.     -- I need to ask you have you
12   been diagnosed with any dementia or memory
13   problems?
14                 MR. TREMONTE:              Objection.           I
15          instruct you not to answer that
16          harassing question.                 If you keep that
17          up, Mr. Greer, we're going to stop here
18          and we're going to go get a protective
19          order.
20                 DR. GREER:           Because he's saying
21          he does not remember and I'm asking if
22          he has any reasons to not remember.
23                 MR. TREMONTE:              I'm instructing
24          him not to answer the question you
25          posed.

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 1          ROBERT M. SERPICO - CONFIDENTIAL
 2                 DR. GREER:           Okay, very good.
 3                 MR. TREMONTE:              If you want to ask
 4          the question generally whether or not
 5          he has reasons not to remember, you may
 6          ask that question.
 7          Q.     Do you have any reasons to not
 8   remember the previous question such as when
 9   you learned that my lease was not being
10   renewed?
11          A.     No, I'm trying to give you the
12   best honest answer I can give you.
13          Q.     So you do not have any reasons
14   that you can list that would explain why you
15   do not recall?
16                 MR. TREMONTE:              Objection, asked
17          and answered.
18          Q.     Was chairman and CEO Dennis
19   Mehiel aware of your daily meeting schedule?
20                 MR. TREMONTE:              Objection.
21          A.     I don't know, you'd have to ask
22   him.
23          Q.     If you were to make a typical
24   appointment with anybody outside of the BPCA
25   or inside of the BPCA, would that

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